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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF                   §
AMERICA,                                        §
     PLAINTIFF AND                              §
     COUNTER-DEFENDANT,                         §
AND                                             §
WAYNE LAPIERRE,                                 §
    THIRD-PARTY DEFENDANT,                      §
V.                                              § CASE NO. 3:19-CV-2074-G-BK
ACKERMAN MCQUEEN, INC.,                         §
    DEFENDANT AND                               §
    COUNTER-PLAINTIFF,                          §
AND                                             §
MERCURY GROUP, INC. ET AL.,                     §
    DEFENDANTS.                                 §

                                     PROTECTIVE ORDER

       IT IS ORDERED THAT the following provisions of this Protective Order (“Order”)

shall control in this Action (defined below):

1.     PURPOSES AND SCOPE

       1.1      Disclosure and discovery activity in this Action are likely to involve production of

confidential, proprietary, or private information for which special protection from public

disclosure and from use for any purpose other than prosecuting this Action (as defined below) may

be warranted.

       1.2      The purpose of this Order is to facilitate the production of discovery material,

facilitate the prompt resolution of disputes over confidentiality and privilege, protect material to

be kept confidential and/or privileged, and ensure that protection is afforded only to material

entitled to such treatment, pursuant to the Court's inherent authority, its authority under the
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applicable Rules, the judicial opinions interpreting such Rules, and any other applicable law.

Except as otherwise stated in this Order, a Party shall produce, in response to a valid discovery

request, otherwise discoverable information in its possession, custody or control that is

Confidential or Highly Confidential, and such information shall be handled in accordance with the

procedures set forth herein.

       1.3       This Order and all subsequent Protective Orders shall be binding on all Parties and

their counsel in the above-captioned litigation and any other persons or entities who become bound

by this Order.

       1.4       The Parties acknowledge that this Order does not confer blanket protections on all

disclosures or responses to discovery and that the protection it affords from public disclosure and

use extends only to the limited information or items that are entitled to confidential treatment under

the applicable legal principles. The Parties further acknowledge, as set forth in Section 12.3 below,

that this Order does not entitle them to file confidential information under seal.

2.     DEFINITIONS

       The following definitions apply for purposes of this Order:

       2.1       Action: The lawsuit captioned above National Rifle Association of America, et al.

v. Ackerman McQueen, Inc., et al., Civil Action No. 3:19-cv-02074-G-BK (N.D. Tex).

       2.2       Challenging Party:    A Party or Non-Party that challenges the designation of

information or items under this Order.

       2.3       Confidential Information: Discovery Material (regardless of how it is generated,

stored, or maintained) or tangible things that qualify for protection under the Federal Rules of Civil

Procedure and applicable precedent.




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       2.4     Counsel: Outside Counsel of Record, In-House Counsel, or counsel retained for

the purpose of advising, prosecuting, defending, or attempting to settle this Action.

       2.5     Designating Party: A Party or Non-Party that designates documents, information

or items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or

“PRIVILEGED” or “HIGHLY CONFIDENTIAL.”

       2.6     Discovery Material: All items or information, regardless of the medium or manner

in which it is generated, stored, or maintained (including, among other things, testimony,

transcripts, answers to interrogatories, documents, responses to requests for admissions, tangible

things, and informal exchanges of information), that are produced or generated in connection with

any discovery in this Action, whether formally or informally.

       2.7     Expert: A person retained by a Party or its Counsel to serve as an expert witness

or consultant or technical advisor in this Action (as well as his or her employees and support staff).

       2.8     Highly Confidential Information: Discovery Material that meets the definition of

“Confidential Information” and which the Designating Party reasonably believes to be information

reflecting non-public technical research, pricing and business strategy documents concerning a

particular product or service, financial statements reflecting sales data, margin data, cost and

expense data, human resources or personnel files, and/or profit and loss data, sales information

relating to specific customers or classes of customers, non-public research, provided that the

nonpublic information is actually secret because it is neither known to, nor readily ascertainable

by, another person or entity that can obtain economic value from the disclosure or use of such

information, the Designating Party has taken reasonable measures to maintain the secrecy of that

information and the Designating Party derives independent economic value and a competitive

advantage from the secrecy of that information, including, as the case may be, containing

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information where production of the materials on a confidential or non-confidential basis would

nonetheless likely cause substantial harm. Nothing herein precludes any Party from seeking

additional protections not currently contemplated by this Order to be applied to any particular

document or category of documents, including Highly Confidential Information.

          2.9    In-House Counsel: Attorneys who are employees of a Party to this Action. In

House Counsel does not include Outside Counsel of Record or any other outside counsel.

          2.10   Non-Party: Any natural person, partnership, corporation, association, or other legal

entity not named as a Party to this Action, and their counsel.

          2.11   Outside Counsel of Record: Attorneys who are not employees of a Party to this

Action but have been retained to represent or advise a Party to this Action and have appeared in

this Action on behalf of that Party or are affiliated with a law firm which has appeared on behalf

of that Party.

          2.12   Party: Any party to this Action.

          2.13   Privileged Material:   Discovery Material protected from disclosure under the

attorney-client privilege, work product doctrine, or any other privilege, immunity or protection

afforded or recognized by the Rules, including any such privilege or protection under applicable

U.S. or foreign law, regulation or statute.

          2.14   Producing Party: A Party or Non-Party that produces Discovery Material in this

Action.

          2.15   Professional Vendors: Persons or entities that provide litigation support services

(e.g., photocopying, videotaping, graphic support services, coding, translating, preparing exhibits

or demonstrations, document review, and organizing, storing, or retrieving data in any form or

medium) and their employees and subcontractors.

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       2.16    Protected    Material:      Any    Discovery    Material   that   is   designated   as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”

       2.17    Receiving Party: A Party that receives Discovery Material from a Producing Party.

       2.18    Virginia Action: The consolidated lawsuits captioned National Rifle Association of

America v. Ackerman McQueen, Inc., et al., Case Nos. CL19002067, CL19001757, and

CL19002886, pending before the Circuit Court for the City of Alexandria, Virginia.

3.     SCOPE

       3.1     The protections conferred by this Order apply to Protected Material (as defined

above) and also (1) any information copied or extracted from Protected Material; (2) all copies,

excerpts, summaries, translations, or compilations of Protected Material; and (3) any oral, written,

or electronic communications, testimony or presentations, including for purposes of settlement, by

Parties or their Counsel that might reveal Protected Material. However, the protections conferred

by this Order do not cover information that is in the public domain at the time of disclosure to a

Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as

a result of publication not involving a violation of this Order.

       3.2     This Order and its protections apply for pre-trial purposes only. The Parties will

meet and confer at the appropriate time regarding any use of Protected Material at trial, which use

shall be governed by a separate agreement or order.

4.     DURATION

       4.1     Even after final disposition of this Action, the confidentiality obligations imposed

by this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

claims and defenses in this action, with or without prejudice; or (2) final judgment herein after the

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completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

including the time limits for filing any motions or applications for extension of time pursuant to

applicable law.

5.     DESIGNATING PROTECTED MATERIAL

       5.1     Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., Section 5.2.4 below), or as otherwise stipulated or ordered, Discovery Material that

qualifies for protection under this Order must be clearly so designated at the time the material is

disclosed or produced. The Parties shall make Confidential and Highly Confidential designations

in good faith to ensure that only those documents or testimony that merit Confidential or Highly

Confidential treatment are so designated. Either designation may be withdrawn by the Designating

Party. If it comes to a Designating Party’s attention that information or items that it designated for

protection do not qualify for protection, the Designating Party must promptly notify all other

Parties that it is withdrawing the mistaken designation.




                             Nothing further on this page




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       5.2     Designation in conformity with this Order requires the following:

               5.2.1     Marking. All or any part of a document, discovery response, or pleading

disclosed, produced, or filed by a Producing Party may be designated Confidential or Highly

Confidential by marking the appropriate legend (“CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL”) on the face of the document and each page so designated. With respect to

tangible items, the appropriate legend shall be marked on the face of the tangible item, if

practicable, or by written notice to the Receiving Party at the time of disclosure, production, or

filing that such tangible item is Confidential or Highly Confidential or contains such information.

With respect to documents produced in native format, the Electronically Stored Information

Protocol, or ESI Protocol, to be entered in this Action shall govern the form and method for

marking such documents as Confidential or Highly Confidential.

               5.2.2     A Receiving Party shall exercise good faith efforts to ensure that any

copies, print-outs of natively produced documents or data, excerpts, summaries, or compilations

include a confidentiality legend that matches the confidentiality designation the Designating Party

applied to the document, discovery response, transcript, or pleading.

               5.2.3     Timing. Except as otherwise provided herein, documents and other

objects must be designated before disclosure or production. In the event that a Producing Party

designates some or all of a witness’s deposition or other pre-trial testimony (or related exhibits)

Confidential or Highly Confidential, such designation may be made on the record of the deposition

or hearing or within thirty (30) calendar days after receipt of the final transcript of such deposition

or hearing. The specific page and line designations over which confidentiality is claimed must be

provided to counsel for the Parties within thirty (30) calendar days of receipt of the transcript in

final form from the court reporter except counsel may agree to extend such period. Deposition or

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pre-trial testimony shall be treated as Highly Confidential pending the deadline or, if applicable,

extended deadline for designation. After the expiration of that period, the transcript shall be treated

only as actually designated.

                5.2.4     For information produced in some form other than documentary and for

any other tangible items, the Producing Party shall affix in a prominent place on the exterior of the

container or containers in which the information or item is stored the legend “CONFIDENTIAL”

or “HIGHLY CONFIDENTIAL.” If the Protected Material is produced in an electronic form with

a load file, the Designating Party shall note that there is Protected Material in the load file. If only

a portion or portions of the information or item warrant protection, the Producing Party, to the

extent practicable, shall identify the protected portion(s).

                5.2.5     Inadvertent Failures to Designate. Accidental or inadvertent disclosure

of Protected Material—including Protected Material inadvertently disclosed by failure to redact as

set forth in Section 11—does not waive the confidential status of such information or any privilege

or other protection attached thereto. In the event that Protected Material is inadvertently disclosed

without appropriate designations, any Party or Non-Party may thereafter reasonably assert a claim

or designation of confidentiality, and the Producing Party shall promptly provide replacement

media. Thereafter, the Receiving Party must promptly return the original information and all

copies of the same to the Producing Party, or destroy the original information and all copies, and

make no use of such information. In the event that Protected Material is inadvertently disclosed

to any person and such disclosure is not permitted by the terms of this Order, the Party making the

inadvertent disclosure shall promptly notify the Producing Party of such inadvertent disclosure

within ten (10) calendar days of learning of it and will make all reasonable efforts to ensure the




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original and all copies of inadvertently disclosed information are not used and are promptly

returned or destroyed.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1     Timing of Challenges. A challenge to a designation of confidentiality may be made

at any time. Unless a prompt challenge to a Designating Party’s confidentiality designation is

necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens, or a

significant disruption or delay of the litigation, a Party does not waive its right to challenge a

confidentiality designation by electing not to mount it a challenge promptly after the

confidentiality designation is made.

       6.2     Form of Challenge. The Challenging Party shall object to the propriety of the

designation of specific material as Confidential or Highly Confidential by providing written notice

to the Designating Party of each designation it is challenging and describing the basis for each

challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

recite that the challenge to confidentiality is being made in accordance with this specific Section

of this Order. The Designating Party or its counsel shall thereafter, within fourteen (14) calendar

days, respond to such challenge in writing by either: (i) agreeing to remove the designation; or (ii)

stating the reasons for such designation. Counsel may agree to reasonable extensions.

       6.3     Meet and Confer. If the Challenging Party continues to dispute the designation(s)

at issue, it shall notify the Designating Party in writing within seven (7) calendar days thereafter.

Counsel may agree to reasonable extensions. The Parties shall attempt to resolve each challenge

in good faith by conferring directly (in voice-to-voice dialogue; other forms of communication are

not sufficient). A Challenging Party may proceed to the next stage of the challenge process only




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 if it has engaged in this meet-and confer process first or establishes that the Designating Party is

 unwilling to participate in the meet-and-confer process in a timely manner.

        6.4     Judicial Intervention. If the Parties cannot resolve a challenge without court

 intervention, the Challenging Party may move the Court for an order withdrawing the designation

 as to the specific designations on which the Challenging Party and the Designating. Party could

 not agree, within fourteen (14) calendar days of the Parties agreeing that the meet-and-confer

 process will not resolve their dispute. Each such motion must be accompanied by a competent

 declaration affirming that the movant has complied with the meet-and-confer requirements

 imposed in the preceding Section.

        6.5     The burden of persuasion in any such challenge proceeding shall be on the

 Designating Party. While a challenge is pending, all Parties shall continue to afford the material

 in question the level of protection to which it is entitled under the Designating Party’s designation

 until the Court orders otherwise.

        6.6     If a Designating Party or the Court identifies or determines that material that had

 been designated as Protected Material should no longer be so designated, that material will no

 longer be subject to the restrictions designated herein for the treatment of Protected.

 7.     ACCESS TO AND USE OF PROTECTED MATERIAL

        7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed

 or produced by another Party or by a Non-Party in this Action only for prosecuting, defending, or

 attempting to settle this Action, including any appeal(s), so long as such use is permitted herein.

 In addition, the parties may use in the Virginia Action any Protected Material that is disclosed or

 produced in this Action, which shall receive the same protections as set forth in this Order absent

 a court order otherwise. Subject to the foregoing, Protected Material may be disclosed only to the

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 categories of persons and under the conditions described in this Order. After the final disposition

 of the Action, a Receiving Party must comply with the provisions of Section 13 below (FINAL

 DISPOSITION). Protected Material must be stored and maintained by a Receiving Party at a

 location and in a secure manner that ensures that access is limited to the persons authorized under

 this Order.

                 7.1.1    Except as otherwise provided in this Order, Counsel in this Action and

 any of their agents shall be prohibited from sharing with anybody any Protected Material, or any

 information derived from or based on any Protected Material, in connection with any investigation,

 proceeding, or contemplated proceeding.

           7.2   Restrictions on Use of Confidential Information. Unless otherwise ordered by the

 Court, permitted in writing by the Designating Party, or used in the Virginia Action, a Receiving

 Party may disclose any information or item designated “CONFIDENTIAL” only to:

                 7.2.1    the Receiving Party’s Counsel (including their employees and support

 staff);

                 7.2.2    the officers, directors, and employees of the Receiving Party to whom

 disclosure is reasonably necessary for this Action;

                 7.2.3    experts retained by the Receiving Party or the Receiving Party’s Counsel

 to whom disclosure is reasonably necessary for this Action;

                 7.2.4    the Court and its personnel, and any appellate court or other court

 (and their personnel) before which the Parties appear in this Action;

                 7.2.5    special masters or discovery referees appointed by the Court;

                 7.2.6    mediators and their staff;




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                7.2.7    court reporters and their staff, professional jury or trial consultants, mock

 jurors, and Professional Vendors to whom disclosure is reasonably necessary for this Action;

                7.2.8    potential or actual witnesses in the Action to whom disclosure is

 reasonably necessary, unless otherwise agreed by the Designating Party or ordered by the Court;

                7.2.9    the author or recipient of a document containing the information or a

 custodian or other person who otherwise possessed or knew the information; and

                7.2.10   any other person to whom the Designating Party, in writing, authorizes

 disclosure.

                7.2.11   Any    person    or   entity   who    receives    information    designated

 CONFIDENTIAL pursuant to this Protective Order shall (1) agree to be bound by the terms of this

 Protective Order and (2) execute the document attached hereto as Exhibit “l.”

        7.3 Restrictions on Use of Highly Confidential Information.

        Unless otherwise provided for herein, information designated Highly Confidential by

 either party shall not be disclosed. However, notwithstanding the above, information designated

 in good faith as “HIGHLY CONFIDENTIAL” may be disclosed to counsel for the NRA, AMc,

 Mercury Group, Henry Martin, William Winkler, Melanie Montgomery, and/or Jesse Greenberg

 and each of their respective employees or representatives who (1) agree to be bound by the terms

 of this Protective Order and (2) execute the document attached hereto as Exhibit “1”; provided,

 however, that such any representative shall not discuss, disclose, summarize, describe,

 characterize, or otherwise communicate or make available such information to any person or entity

 prohibited by this Protective Order from accessing HIGHLY CONFIDENTIAL information

 and/or documents. Similarly, information designated HIGHLY CONFIDENTIAL may be shared

 with experts and Court personnel, provided that the disclosing party obtains written assurance that

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 such experts will protect the confidentiality of the information and that the Court personnel will

 keep such information under seal.

        HIGHLY CONFIDENTIAL information may not be disclosed or disseminated to William

 A. Brewer, III or to personnel within Brewer, Attorneys and Counselors who are members of the

 Public Relations Unit of the firm, including Travis Carter, Andrea Burnett, Katherine Unmuth,

 Holly Heidemanns, and Lea Gamino-Blum, unless and until relief is obtained from the Court.

 8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
       OTHER LITIGATION

        8.1     If a Party is served with a subpoena or a court order issued in other litigation that

 compels disclosure of any Protected Material, that Party must:

                8.1.1    promptly notify in writing the Designating Party unless prohibited by law

 from doing so. Such notification shall include a copy of the subpoena or court order;

                8.1.2    promptly notify in writing the party who caused the subpoena or order to

 issue in the other litigation that some or all of the material covered by the subpoena or order is

 subject to this Order. Such notification shall include a copy of this Order; and

                8.1.3    cooperate with respect to all reasonable procedures sought to be pursued

 by the Designating Party whose Protected Material may be affected.

        8.2     If the Designating Party timely seeks a protective order, the Party served with the

 subpoena or court order shall not produce any Protected Material before a determination by the

 court from which the subpoena or order issued, unless the Party has obtained the Designating

 Party’s permission. The Designating Party shall bear the burden and expense of seeking protection

 of its Protected Material, and nothing in these provisions should be construed as authorizing or

 encouraging a Receiving Party in this Action to disobey a lawful directive from another court.


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 9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
        THIS ACTION

        9.1     The terms of this Order are applicable to Protected Material produced by a Non-

 Party in this Action. Such information produced by Non-Parties in connection with this Action is

 protected by the remedies and relief provided by this Order. Nothing in these provisions should

 be construed as prohibiting a Non-Party from seeking additional protections.

 10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

        10.1    If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

 Protected Material to any person or in any circumstance not authorized under this Order, the

 Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

 disclosures; (b) inform the person or persons to whom unauthorized disclosures were made of all

 the terms of this Order; and (c) make all reasonable efforts to retrieve all unauthorized copies of

 the Protected Material.

 11.    REDACTIONS ALLOWED

        11.1    Any Producing Party may redact from Discovery Material matter that the Producing

 Party claims is Privileged Material. The Producing Party shall ensure that the redaction is obvious

 to the Receiving Party and specify the basis for the redaction as appropriate. Where a document

 consists of more than one page, at least each page on which information has been redacted shall

 be so marked. If counsel for the Producing Party agrees or if the Court orders that Discovery

 Material initially redacted shall not be subject to redaction or shall receive alternative treatment,

 and the Discovery Material is subsequently produced in unredacted form, then that unredacted

 Discovery Material shall continue to receive the protections and treatment afforded to documents

 bearing the confidentiality designation assigned to it by the Producing Party.


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        11.2     The right to challenge and process for challenging the designation of redactions

 shall be the same as the right to challenge and process for challenging the designation of

 Confidential Information and Highly Confidential Information as set forth in Section 6.

        11.3    Nothing herein precludes any Party from seeking the other Parties’ consent or an

 order allowing the Party to redact nonresponsive matter from otherwise responsive documents on

 a case-by-case basis.

 12.    MISCELLANEOUS

        12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to seek its

 modification by the Court in the future. Any Party, entity, or person covered by this Order may at

 any time apply to the Court for relief from any provision of this Order. Subject to the agreement

 of the Parties or an order of the Court, other entities or persons may be included in this Order by

 acceding to its provisions in a writing served upon counsel for the Parties, with such writings to

 be filed with the Court if so directed.

        12.2    Right to Assert Other Objections. By stipulating to the entry of this Order, no Party

 waives any right it otherwise would have to object to disclosing or producing any information or

 item on any ground not addressed in this Order. Similarly, no Party waives any right to object on

 any ground to use as evidence any of the material covered by this Order.

        12.3    Filing Protected Material. Without written permission from the Designating Party

 or a court order secured after appropriate notice to all interested persons, a Party may not file in

 the public record in this Action any Protected Material. A Party that seeks to file under seal any

 Protected Material must do so pursuant to the local rules.




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        12.4      Hearings and Appeals

                  12.4.1.   In the event that a Receiving Party intends to utilize Protected Material

 during a pre-trial hearing, such Receiving Party shall provide written notice no less than three (3)

 calendar days prior to the hearing, to the Producing Party and/or the Designating Party, except that

 shorter notice may be provided if the Receiving Party could not reasonably anticipate the need to

 use the document at the hearing three (3) calendar days in advance, in which event notice shall be

 given immediately upon identification of that need. The use of such Protected Material during the

 pre-trial hearing shall be determined by agreement of the relevant Parties or by Order of the Court.

                  12.4.2.   In the event that any Protected Material is used in any court proceeding in

 this Action or any appeal in connection with this Action, except for the use of Protected Material

 during trial, the manner of which shall be determined pursuant to Section 3.2, such Protected

 Material shall not lose its protected status through such use. Counsel shall comply with all

 applicable local rules and shall confer on such procedures that are necessary to protect the

 confidentiality of any documents, information, and transcripts used in the course of any court

 proceedings, including petitioning the Court to close the courtroom.

        12.5      Reservations. Entering into, agreeing to or complying with the provisions of this

 Order shall not: (1) operate as admission that any particular material contains Protected Material;

 or (2) prejudice any right to seek a determination by the Court (a) whether particular material

 should be produced, or (b) if produced, whether such material should be subject to the provisions

 of this Order.




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 13.    FINAL DISPOSITION

        13.1    Within ninety (90) calendar days after the final disposition of this Action, as defined

 in Section 4, each Receiving Party, including its employees, attorneys, consultants, and experts,

 must use commercially reasonable efforts to destroy or return to the Producing Party all Protected

 Material, exception (1) backup tapes or other disaster recovery systems that are routinely deleted

 or written over in accordance with an established routine system maintenance practice, or (2)

 documents that must be preserved as federal records or in compliance with other statutory,

 regulatory or legal authorities. As used in this Section, “all Protected Material” includes all

 originals, copies, abstracts, compilations, summaries, and any other format reproducing or

 capturing any of the Protected Material. Whether the Protected Material is returned or destroyed,

 upon request of the Producing Party, the Receiving Party must submit a written certification to the

 Producing Party (and, if not the same person or entity, to the Designating Party) by the 90-day

 deadline that (1) states that commercially reasonable efforts have been made to assure that all

 Protected Material has been returned or destroyed, and (2) affirms that the Receiving Party has not

 retained any originals, copies, abstracts, compilations, summaries, or any other format reproducing

 or capturing any of the Protected Material. Notwithstanding this provisions, Counsel are entitled

 to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

 legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work

 product (including all emails attaching or referring to Protected Materials), and consultant and

 expert work product, even if such materials contain Protected Material. Any such archival copies




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 that contain or constituted Protected Material remain subject to this Order as set forth in Section 4

 (DURATION).


        SO ORDERED on June 22, 2020.




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                           EXHIBIT 1 TO PROTECTIVE ORDER

                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF                 §
 AMERICA,                                      §
      PLAINTIFF AND                            §
      COUNTER-DEFENDANT,                       §
 AND                                           §
 WAYNE LAPIERRE,                               §
     THIRD-PARTY DEFENDANT,                    §
 V.                                            § CASE NO. 3:19-CV-2074-G-BK
 ACKERMAN MCQUEEN, INC.,                       §
     DEFENDANT AND                             §
     COUNTER-PLAINTIFF,                        §
 AND                                           §
 MERCURY GROUP, INC. ET AL.,                   §
     DEFENDANTS.                               §
                       ACKNOWLEDGEMENT OF AND
                AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

       I, understand and state that:

       I have reviewed the Protective Order in this matter.

       I hereby agree to be bound by and comply with the terms of the Protective Order.



 DATED this _____ date of, _______________, ________



 ____________________________________
 (Typed or Printed Name)


 ____________________________________
 (Signature)

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